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UNITED STATES DISTRICT COURT FOR
THE NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISI()N

STATE OF ILLINOIS,

Plaintiff,
Case No. 17-CV~6260
Judge Robert M. DoW,

V.

CITY ()F CHICAGO,

\/\/\/\/\/\./\/\/

Defendant.

SUPPLEMENT T() COMMENTS GF THE FRATERNAL ()RDER OF POLICE
CHICAG() LODGE NO. 7 PR()POSED C()NSENT DECREE

The Fraternal Order of Police Chicago Lodge No. 7 submits the attached comment to a
letter of Lovey & Lovey signed by Mr. Matthew Topic. This comment is submitted in support of
comments of the Fraternal Order of Police Chicago Lodge No. 7 to proposed consent decree
[Doc. 156].

/s/Joel A. D’Alba
Joel A. D’Alba

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UNITED STATES DISTRICT COURT F()R
THE NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

STATE OF lLLlNOlS, )
)
Plaintiff, )

v. ) Case No. l7-CV-6260

) Judge Robert M. DoW,
CITY OF CHICAGO, )
)
Defendant. )

SUPPLEMENT T() C()MMENTS ()F THE FRATERNAL ()RDER ()F POLICE
CHICAGO LODGE N(). 7 T() PROP()SED CONSENT DECREE

The Fraternal Order of Police Chicago Lodge No. 7 (hereinafter “the Lodge”) submits
this statement to respond to the letter of Mr. Matthew Topic of Loevy & Loevy dated October
12, 2018, and filed as a sealed document but Was filed as an unsealed document on November
26, 2018 by order of this Court. [Doc. 667-l p. 78].

l\/lr. Topic suggests that paragraph 688 of the proposed consent decree dealing With the
lllinois Freedom of Information Act should be modified Paragraph 688 proposes, “Nothing in
this Agreement is intended to conflict With the lllinois Freedom of lnfoimation Act.” The
Suggested revised language is, “Nothing in this consent decree prohibits the release of any
records that are subject to disclosure under the lllinois Freedom of lnformation Act.” The use of
the apparent double negative Words “nothing” and “prohibit” create a possible confusion in the
context of non-disclosable information because the suggested sentence only refers to records that
are subject to disclosure as distinguished from records that are not to be disclosed under lllinois
law.

The proposed language does not account for those statutes Which block disclosure of
certain employee records. There are at least two other statutes Which either require the deletion
of records or do not permit the disclosure of disciplinary records that are more than four years
old and prohibit the disclosure of employee evaluations:

l. Section 8 of the lllinois Personnel Record Revievv Act provides in
pertinent part that an employer, and this includes a public employer,
“shall delete disciplinary records, letters of reprimand, or the records of
disciplinary action Which are more than 4 years old.” 820 ILCS 40/1(b)
and 40/8. The lllinois Appellate Court has held that Section 8 of the Act prohibits
the disclosure of disciplinary records that are more than four years old and that

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they are exempt from disclosure under the Freedom of lnformation Act, 5 ILCS
140, et seq. Johnson v. Joliet Police Department, 2018 lL. App.3d. 170 726, 424
IL. Dec. 245, 248, 107 N.E.Bd 964, 967 (3rd Dist. 2018). In Johnson, the court
affirmed a circuit court’s denial of a request for an employee’s disciplinary
records that Were more than four years old.

 

2. Section 11 of the lllinois Personnel Records RevieW Act provides “that disclosure
of performance evaluations under the Freedom of lnformation Act shall be
prohibited.” 820 lLCS 40/11.

3. The lllinois Vehicle Code, 625 ILCS 5/11-212(f) exempts from public inspection
any law enforcement officer’s identification information compiled pursuant to the
Act involving the issuance of a traffic citation or Whenever a law enforcement
officer stops a motorist for an alleged violation of the lllinois Vehicle Code and
completes an uniform stop card, as required by Section 11-212(b). Under Section
11-212(f), the officer’s identification shall be considered confidential and exempt
from disclosure under Section 7 of the Freedom of lnformation Act.

This proposal as suggested by Mr. Topic is not sufficiently protective of the rights of
officers under these there statutes in that these prohibitions on disclosure should be specifically
mentioned in the consent decree. A clearer statement of the rights of employees Will be
important to ensure that members of the public are not given information Which they do not have

a right to review. A preferred statement Would be:

Nothing in this Agreement is intended to conflict With the lllinois Freedom of
lnformation Act or other lllinois laws.

Respectfully submitted,

/s/Joel A. D’Alba

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